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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             8:04CR45
                                              )
                      Plaintiff,              )
                                              )
                vs.                           )              ORDER
                                              )
DAINA M. SCHILLING,                           )
                                              )
                      Defendant.              )


       This matter comes on to consider the government’s motion for Rule 35(b) hearing. Filing
No. 93 and 97. Having considered the matter,
       IT IS ORDERED that:
       1. The government’s request for hearing, Filing No. 97, is granted.
       2. A hearing on the government’s motion for reduction of sentence pursuant to Rule 35(b)
has been set before the undersigned United States district judge on February 1, 2006, at 2:00
p.m. in Courtroom No. 3, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,
Nebraska.
       3. At the request of the defendant through her counsel, and with the agreement of the
government, the defendant may be absent from the hearing on the Rule 35 motion.
       4. The Marshal is directed not to return the defendant to the district, and the
defendant is held to have waived her right to be present. If the defendant wishes to participate
telephonically in the hearing, her attorney must notify chambers at least 24 hours before the
hearing of the telephone number and contact person at the institution which defendant is
incarcerated.
       DATED this 26th day of January, 2006.
                                              BY THE COURT:



                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              United States District Judge
